 Pro Se 1 (Rev. 12/16) Complaint for a Civil Case




                                         UNITED STATES DISTRICT COURT `9 22[i T 20
                                                                         for the
                                                                       District of                                            bl'S     :C{ OF TIC
                                                                              Division


                                                                                   Case No.
                                                                                                   03'"22 02 86
                                                                                                 (to be filled in by the Clerk's Office)

                             Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaints cannoffit in the space above,
                                                                                   Jury Trial: (check one) J      Yes []No
please write "see attached" in the space and attach an additional
page with the full list of names)

                               ~

a'n C           k~ okx,5i \ V"~ 'MuN L~
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with the full list of names.)



                                                    COMPLAINT FOR A CIVIL CASE

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name
                                Street Address
                                                                                                                                                         l''
                                City and County
                                State and Zip Code
                                Telephone Number
                               E-mail Address


         B.         The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (fknown). Attach additional pages if needed.


                                                                                                                                           Page 1 of 5

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                     Defendant No. 1                                               e V-~ 1 i:tP ae,4 wx
                                Name                                              e.h
                                Job or Title (f known)          n~(? f   7   4~
                                Street Address                                    SA-
                                City and County             '~ 0.S1ti v ► ~, ~    o~v ~   hh
                                State and Zip Code          "fvnQ.
                                Telephone Number              1S
                                E-mail Address (:f known)


                     Defendant No. 2
                                Name
                                Job or Title (tfknown)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (rfknown)


                    Defendant No. 3
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (if known)


                    Defendant No. 4
                               Name
                               Job or Title (if known)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)



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H.        Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  ❑        Federal question                          ❑ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.          If the Basis for Jurisdiction Is a Federal Question

                      List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                      are at issue in this case.

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         B.           If the Basis for Jurisdiction Is Diversity of Citizenship

                                 The Plaintiff(s)

                                 a.       If the plaintiff is an individual
                                                                                     p,
                                          The plaintiff, (name)         (~~      e,~ J                           , is a citizen of the
                                          State of (name)    ~       h ",\ e

                                 b.       If the plaintiff is a corporation
                                                                                          l _
                                          The plaintiff, (name)                      ~' v                        , is incorporated
                                          under the laws of the State of (name)
                                          and has its principal place of business in the State of (name)



                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                      2.         The Defendant(s)                                    ~` l~      ,~ e ~J ~~ 0     Ni        Can 3
                                a.        If the defendant is an individual
                                          The defendant, (name)                 ~S         J    R J ~R ~         ,   is a citizen of
                                          the State of (name)    ~~~~~~                   ~~                   Or is a citizen of
                                          (foreign nation)
                                                                 N
                                                                                                                               Page 3 of 5
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                                b.         If the defendant is a corporation
                                           The defendant,   (name)
                                                                             I V 1A                     , is incorporated under
                                           the laws of the State of (name)                                        , and has its
                                           principal place of business in the State of (name)
                                           Or is incorporated under the laws of (foreign nation)
                                           and has its principal place of business in (name)


                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                                The Amount in Controversy

                                The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                                stake—is more than $75,000, not counting interest and costs of court, because (explain):




M.        Statement of Claim

         Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
         facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
         involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
         the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
         write a short and plain statement of each claim in a separate para aph. Attach additional pages if ne ded.
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IV.      Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         punitive money damages.




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V.        Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.         For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:


                    Signature of Plaintiff         [~~                       ""✓
                    Printed Name of Plaintiff                           CL

         B.         For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number
                    E-mail Address




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                      METROPOLITAN DEVELOPMENT AND HOUSING AGENCY                                               O



                      Parthenon Towers * 301 28th Avenue North * Nashville, Tennessee 37203                             J     '
                      Telephone device for the deaf (615) 252-8599



                                                        LEGAL NOTICE
                                                          03l28/2022

                                                     cjo4
                                                                                      Tenant ID:       t0182462
 WILLIAM LEGGETT
 301 28TH AVE. N 310                                                                          Unit:    21045
 NASHVILLE TN 37203


 Dear WILLIAM LEGGETT,

According to our records, you have not paid your rent or other charges as outlined on the back page of this letter in the
Summary of Outstanding Charges. If you have paid this balance in full, thank you for your payment and please disregard
this letter. If you disagree with this balance, please discuss this with your management office immediately.

Because you have not paid all of your balance, you have violated your lease. Please pay the balance in full within thirty
(30) days or make some payment arrangement with your management office.

If you do not pay in full within 30 days or make payment arrangements with your management office, we are inviting you to
come to a mandatory meeting with Judge Rachel L. Bell, who is the Presiding Judge for the L.E.G.A.C.Y. Housing
Resource Diversionary Court (HRDC). This meeting will be to assess your current situation and see if we can come to a
pay-and-stay agreement.

This mee=              on 04/29/2022, at Levy Place. In a follow-up letter, you will be notified whether your court
date will eat10:00AMor :30 PM; please let your management office know as soon as possible if one of these dates will
not work.

If you fail to attend HRDC and do not pay in full within 30 days or by the date of HRDC (whichever is later), your lease is
terminated and this is your official notice to vacate. If upon such termination you do not pay all that you owe or you do not
move, MDHA will take legal action against you, which may include your eviction. This could cost you more money for legal
charges, court costs, and attorney's fees. You will have to pay all money you owe and the legal charges to stop the legal
process and keep from being evicted. If you pay what you owe after MDHA takes out a detainer warrant, the detainer
warrant will still be served on you. If you question whether any payment made by you will stop the legal process, see your
management office.

If you do receive a warrant and have not paid your balance in full, you must go to court on the date and time listed on the
warrant. Failure to attend court may result in a default judgment being awarded against you, depriving you of your
opportunity to be heard in court.


                                                             Sincerely,
                                                                                                                    I



                                                             Parthenon Towers
                                                             Property Manager
   AM 429 (Rev 03/2022)                                      ((bIb)) 1b1-3/33

                                                             ■R■
   MOHA is an Equal Housing provider and cloes not discriminate based upon race, color, age, national
   origin, sex, marital status, disability or any other legally protected status in programs, activities or
   services-

                                               All


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WILLIAM LEGGETT                                                                                          21045       t0182462

                                       Summary of Outstanding Charges
 Date             Type of Charge   Description                                                               Balance Due
 11/01/2021     59RENT             RENT 11/1/2021 to 11/30/2021:                                                   334.00
 11/06/2021     LATE               Tenant Late Charge Late charge fee:                                               5.00
 11/08/2021     LATE               Tenant Late Charge Late charge fee, 2 days @ $1.00/day:                           2.00
 11/22/2021     59RENT             RENTAdj GR, 11/01/2021 to 11/30/2021:                                           334.00
 11/22/2021.    59RENT'            RENTAdj MI, 11/01/2021 to 11/30/2021:                                          -334.00
 11/30/2021     LATE               Tenant Late Charge Late charge fee, 22 days @ $1.00/day:                         22.00
 12/01/2021     59RENT             RENT 12/1/2021 to 12/31/2021:                                                   334.00
 12/06/2021     LATE               Tenant Late Charge Late charge fee:                                               5.00
 01/01/2022     59RENT             RENT 1/1/2022 to 1/31/2022:                                                     334.00
 02/01/2022     59RENT             RENT 2/1/2022 to 2/28/2022:                                                     334.00
 03/01/2022     59RENT             RENT 3/1/2022 to 3/31/2022:                                                     334.00
 Total Balance Due                                                                                               1,704.00


If you disagree with the amount you owe after you have met with the management office you can file a
grievance under our normal grievance process. If you agree that you owe this amount you cannot file a
grievance.



                                           "TENANT GRIEVANCE PROCEDURE"
3. Informal Settlement of Grievance

   Any grievance shall be personally presented, either orally or in writing to the Metropolitan
   Development and Housing Agency's Asset Management Director's Office, 701 South 6th St, or to
   the Property Management Office where the complainant resides so that the grievance may be
   discussed informally and settled without a hearing. A summary of such discussion shall be prepare
   within a reasonable time and one copy shall be given to the Resident and one retained in the housing,
   resident file. The summary shall specify the names of the participants, dates of meeting, the nature of
   the proposal, disposition of the complaint and the specific reasons therefore, and shall specify the
   procedures by which a hearing under Section 4 may be obtained if the Complainant is not satisfied.


4. Procedure to Obtain a Hearing

   (a) Request for Hearing - The Complainant shall submit a written request to the Metropolitan
   Development and Housing Agency for a Hearing either to the Property Management Office where
   he/she lives or to the Asset Management Director's Office, 701 South 6th St, within 5 working days
   of the date of the answer to his/her complaint.
   The written request shall specify:

        (1) The reason for the grievance, and

        (2) The action or relief sought.

   (b) Failure to Request a Hearing - If the Complainant does not request a Hearing in accordance with
   this paragraph, then the Metropolitan Development and Housing Agency's disposition of the
   grievance under Section 3 shall become final. Failure to request a Hearing shall not constitute a
   waiver by the Complainant of his/her right thereafter to contest the Metropolitan Development and
   Housing Agency's action in disposing of the complaint in an appropiate judicial proceeding.

   (c) Hearing Prerequisite - All grievances shall be personally presented either orally or in writing
   pursuant to the informal procedure prescribed in section 3 as a condition precedent to a Hearing
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